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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS

                                  SAN ANTONIO DIVISION


 LOGAN PAUL,

                               Plaintiff,
        v.
                                                          Civil Action No. 5:24-cv-00717
 STEPHEN FINDEISEN AND COFFEE BREAK
 PRODUCTIONS LLC D/B/A COFFEEZILLA,

                               Defendants.


    PLAINTIFF’S UNOPPOSED MOTION TO PARTIALLY SEAL DEFENDANTS’
     MOTION TO TRANSFER AND STAY AND EXHIBITS D, E, F, G, H, AND J

       Pursuant to Paragraph 11(a) of the November 15, 2024 Confidentiality and Protective

Order (“Protective Order” or “PO”) [Dkt. 22] entered in the above-referenced action, Plaintiff

Logan Paul moves this Court for an order partially sealing Defendants’ Motion to Transfer and

Stay Proceedings [Dkt. 82] and Exhibit D [Dkt. 82-4], Exhibit E [Dkt. 82-5], Exhibit F [Dkt. 82-

6], Exhibit G [Dkt. 82-7], Exhibit H [Dkt. 82-8], and Exhibit J [Dkt. 82-10] thereto, which were

filed by Defendants on April 15, 2025. Plaintiff requests further that the attached redacted copies

of the Motion to Transfer and above-referenced exhibits be publicly filed as replacements.

       1.      On April 15, 2025, Defendants filed their Motion to Transfer and Stay Proceedings

[Dkt. 82].

       2.      Exhibits D, E, F, G, H, and J are all copies of text messages between Plaintiff and

others that Plaintiff produced in discovery. Portions of those exhibits are also screenshotted and

included in the body of the Motion to Transfer.

       3.      The exhibits and the screenshotted portions thereof included in the Motion contain

Plaintiff’s private cell phone number, unredacted.


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       4.      As a result of this disclosure by Defendants, Plaintiff, who is a public figure, has

been inundated with harassing telephone calls and text messages from individuals who obtained

his number from the public filing.

       5.      Accordingly, good cause exists for Plaintiff’s phone number to be removed from

the public docket. Plaintiff is submitting herewith copies of the previously filed Motion to Transfer

[Dkt. 82] and Exhibit D [Dkt. 82-4], Exhibit E [Dkt. 82-5], Exhibit F [Dkt. 82-6], Exhibit G [Dkt.

82-7], Exhibit H [Dkt. 82-8], and Exhibit J [Dkt. 82-10] thereto that have been redacted to obscure

Plaintiff’s telephone number.     Plaintiff requests that the existing public versions of those

documents be replaced by these versions so that Plaintiff’s personal cell phone number no longer

appears on the public docket.

                                         CONCLUSION

       Plaintiff requests that the Court grant this Unopposed Motion and order that Defendants’

Motion to Transfer, along with Exhibits D-H & J, be placed under seal and replaced with the

attached copies that have Plaintiff’s telephone number redacted.


May 8, 2025                                   /s Andrew C. Phillips
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                                CERTIFICATE OF SERVICE

       I hereby certify that, on the May 8, 2025, I electronically filed the foregoing with the Clerk

of Court using the CM/ECF system which will send notification of such filing to all counsel of

record who are deemed to have consented to electronic service.

                                                     /s Andrew C. Phillips




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